                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND
                             –Southern Division–


 CONSTANCE COLLINS, et al.,
                                                                   Case No. 1:20-cv-01225
 Plaintiffs,

 –v–

 TRI-STATE ZOOLOGICAL PARK OF
 WESTERN MARYLAND, INC., et al.,

 Defendants.


                      DECLARATION OF LAWRENCE M. PULLEN

I, Lawrence M. Pullen, hereby declare as follows:

1.       I am of sufficient age and competent to testify from my personal knowledge concerning
the facts set out in this declaration.

2.     I am a Director of Vallit Advisors, LLC, where I provide business valuation and forensic
accounting services, among other services.

3.       Attached as Exhibit A is a true and correct copy of the September 7, 2021 expert report
that I prepared in the above-referenced matter (the “Pullen Report”).

4.      Although I am no longer a Principal of Ellin & Tucker, where I worked when I authored
the Pullen Report, the Pullen Report is true and correct in all other respects.

        Pursuant to 28 U.S.C. § 1746, I, Lawrence M. Pullen, declare under penalty of perjury that
the foregoing is true and correct.

EXECUTED in Annapolis, Maryland on this 14th day of March 2022.



                                                Lawrence M. Pullen

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